                                                             22-mj-2151-BECERRA
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                                                                                        SouthernDistrictofFlorida
 AndreaGoldbarg                                                                         99NE .
                                                                                             # Street
 AssistantUnitedStatesAttorney                                                          M iami,FL 33132
                                                                                        TeI.(305)961-9309
                                                                                        Email:Andrea.Goldbarg@usdoj.gov
                                                                                        January 26,2022
 VIA ELECTRON IC M AIL
 .

 SpecialAgentK irk Eleazer
 Drug Enforcem entA dm inistration
 M iam i,FL Field Office
 2100 N orth Com m erce Parkway
 W eston,FL,33326


                                      Re:1va M oraniRuiz

 D earSpecialA gentEleazer:

                        As you are aw are,the United StatesA ttorney's Office forthe Southem D istrictof
 Florida,inconjunctionwiththeDrugEnforcementAdministration's(DEA)M iamiField
 Division, is investigating 1va M orani Ruiz, Florida D river's License N um ber
 M 00413695130,for internationalm oney laundering and operating an unlicensed m oney
 transmittingbusiness,inviolationof18U.S.C.jj1956,1957,1960.
        By thisletter,lauthorizeyou to disclose the existence ofthisinvestigation to Iva
 M oraniRuiz forthepurpose ofarranging a m eeting w ith her.

                                                                    Sincerely,

                                                                    JUAN AN TON IO G ON ZALEZ
                                                                    UN ITED STA TES A W ORN EY

                                                              By:          a?zx         >F     v
                                                                    AND REA G OLDBARG
                                                                    A ssistantU nited StatesA ttorney
